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                                                                            United States Bankruptcy Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                       January 16, 2025
                      FOR THE SOUTHERN DISTRICT OF TEXAS                        Nathan Ochsner, Clerk
                               HOUSTON DIVISION

IN RE:                          §
                                §
HOUSTON REAL ESTATE PROPERTIES, §                       CASE NO. 22-32998
LLC,                            §                          (Chapter 7)
      Debtor.                   §
                                §
JOHN QUINLAN, OMAR KHAWAJA,     §
AND OSAMA ABDULLATIF,           §
             Plaintiffs,        §                       ADVERSARY NO. 23-03141
                                §
v.                              §
                                §
HOUSTON REAL ESTATE PROPERTIES, §
LLC, et al.,                    §
      Defendants.               §

                         ORDER GRANTING PLAINTIFFS’
                       MOTION TO DISMISS TEXAS REIT, LLC

         This Order resolves and allows Plaintiffs, John Quinlan, Omar Khawaja, and Osama

Abdullatif (“Plaintiffs”), to dismiss all causes action in the Complaint (ECF No. 1) as to

only TEXAS REIT, LLC, with prejudice.

       IT IS ORDERED THAT TEXAS REIT, LLC is dismissed with prejudice as Plaintiffs

no longer wish to prosecute their claims against TEXAS REIT, LLC.




                    January  16,2018
                      April 04,  2025
                                          JEFFERY NORMAN
                                          UNITED STATES BANKRUPTCY JUDGE
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                                            Respectfully submitted,

                                            HOOVER SLOVACEK LLP

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